
726 S.E.2d 856 (2012)
STATE
v.
MONTI and Thornton.
No. 95P12-1.
Supreme Court of North Carolina.
June 13, 2012.
Glenn Gerding, for Monti, Dustin Lewis.
Kevin P. Bradley, Durham, for Thornton, Joshua L.
Latoya B. Powell, Assistant Attorney General, for State of North Carolina.
Frank R. Parrish, District Attorney, for State of North Carolina.
The following order has been entered on the motion filed on the 12th of March 2012 by State of NC for Temporary Stay:

*857 "Motion Dissolved by order of the Court in conference, this the 13th of June 2012."
